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™N THE UNITED STATES DI¢TRIcT COURT
POR THE DISTRICT OF COLUMBIA

PRISON LEGAL NEWS, : CIVIL ACTION

PLAINTIFF,
CASE NO,: 05-1812 {(RBW)
Vea

HARLEY G. LAPPIN, DIRECTOR, ;
FEDERAL BUREAU OF PRISONS, :

DEFENDANTS

DECLARATION OF Kathleen White

I, the undersigned, Kathleen White, do hereby make the following

uneworn declaration, pertinent to the above-styled and numbered cause.

I am a Senior Equal Employment Opportunity (EEO} Specialist for
the Federal Bureau of Prisons {Bureau) , Central Office, Washington,
D.c. In this position, my responsibilities include accessing
paper copies of EEO complaint files and the two (2) databases used
by Bureau EEO staff, Lawpack and Icomplaints. These databases
contain information on settlements and decisions. I regularly
input information into the databases and routinely conduct
Searches for responsive data and generate reports. This
declaration supplements my prior declaration dated October 7,

2008.

in searching for responsive records I understood that the request,
2003-08557, sought copies of all documents showing all money paid
by the Bureau of Prisons for lawsuits and claims against it from

the dates of January 1, 1996, through and including July 31,
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2003. In September 2006, I was contacted by Wilson Moorer, to

search for records in response to this request,

The only responsive records maintained in Central Office include
copes of EEO complaint settlements. Ali responsive records
maintained by the Central Cffice are controlled by this office. No
other records as described in paragraph two are maintained by this

office.

The only means of creating an accurate and complete list of
responsive records maintained in Central Office, was to review the
database Lawpack. Lawpack is an electronic database that the EKO
office in Central Office used on a regular basis to record and

track data on EEO complaints, up until the year 2096.

IT conducted this review by searching Lawpack for all EEO
complaints that had the description of “SETT’, which indicates
“Settlement” from January 1, 1996 through and including July 31,
2003, Lawpack does not make the distinction as to whether
settlements were monetary or non-monetary. Therefore, for every
case that Rad a settlement indicated, the hard copy of the
complaint file was retrieved from our file room and the complaint

and settlement was manually reviewed to determine if the terms of
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the settlement were Monetary Or non-monetary. This search and

review process took several weeks to camplete.

6. Based on my review of approximately 190 ERO complaints that had
settlements entered from January 1, 1996 through and including
July 31, 2003, I determined that all responsive claims maintained
in Central Office had been identified and created a list of those
identitied documents. The Lawpack Database is the only source that

would reveal responsive documents maintained by Central Office.

7. Based on the list created as a result of my review of the Lawpack
Database, I retrieved and forwarded the responsive documents ag
described in my October 7, 2008 declaration, to Wilson Moorer in
their original form. I did not redact the documents or apply any

exemptions.

I declare under the penalty of perjury and pursuant to 28 U.S.c.
§ 1746 that the foregoing is true and correct toa the best of my
knowledge and belief.

Exécuted this 8th day of March of 2010.

fn : Ao .

ATOLL Ah bes Org &
Kathleen White
senior Equal Employment Opportunity Specialist
Central Office, Washington, Dc

